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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION                            ZOt9JUL-8 PM 5:28

BRANDON DANIEL,                                    §
                                                   §
                        PETITIONER,                §
                                                   §
V.                                                 §          CIVIL NO. A-17-CV-1069-LY
                                                   §
LORIE DAVIS, DIRECTOR,                                       *   DEATH PENALTY CASE        *
                                                   §
TEXAS DEPARTMENT OF CRIMINAL                       §
JUSTICE, CORRECTIONAL                              §
INSTITUTIONS DIVISION,                             §
                                                   §
                        RESPONDENT.                §

                                                ORDER

         Before the court are Petitioner Brandon Daniel's Motion to Stay and Hold in Abeyance

the Federal Habeas Proceeding (Doc. # 24), Respondent Lone Davis's opposition (Doc. # 27),

and Daniel's reply (Doc. # 31). Daniel requests that this court stay and abate this proceeding to

allow him to return to state court to present numerous new claims for exhaustion purposes. Also

before the court is Daniel's unopposed motion (Doc. # 30) requesting permission to exceed the

page limitations set forth in Local Rule CV-7 when filing his reply to Respondent's opposition.

         After carefully considering the relief sought by Daniel and the pleadings submitted by

both parties, the court grants Daniel's motion to exceed the page limitations but denies Daniel's

motion to stay the proceeding.

                                                Analysis

         Under the Anti-Terrorism and Effective Death Penalty Act (AEDPA), applicants are

required to exhaust all claims in state court before requesting federal collateral relief. See 28

U.S.C.   §   2254(b)(1); Fisher   v.   Texas, 169 F.3d 295, 302 (5th Cir. 1999). The exhaustion

requirement is satisfied when the substance of the federal claim has been fairly presented to the

highest court either on direct appeal or through state habeas corpus proceedings. Morris          v.
Dretke, 413 F.3d 484, 491 (5th Cir. 2005). When an applicant fails to exhaust his claims in state

court, the federal district court has the authority to issue a stay in certain "limited

circumstances." Rhines    v.   Weber, 544 U.S. 269, 277 (2005).     However, any stay must be

compatible with the AEDPA's purpose to reduce delays in the execution of state and federal

criminal sentences. Id. at 276; Woodford     v.   Garceau, 538 U.S. 202, 206 (2003). For these

reasons, a stay and abeyance should be granted only when (1) "good cause" exists for the failure

to exhaust; (2) the unexhausted claims are not "plainly meritless;" and (3) there is no indication

that the applicant has engaged in "abusive litigation tactics or intentional delay." Rhines, 544

U.S. at 277-78. Daniel does not fall within these "limited circumstances."

A.     Daniel has not established 2ood cause.

       Daniel wishes to return to state court to exhaust "several meritorious claims that could

and should have been raised in state postconviction proceedings." According to Daniel, state

habeas corpus counsel unreasonably limited their investigation and failed to raise several of the

unexhausted claims now presented in his federal petition.       Daniel contends this inadequate

representation during his state habeas proceedings provides sufficient cause under Rhines to

excuse his failure to exhaust the new claims in state court. Regardless of the fact that Daniel's

current counsel has identified additional non-frivolous issues that potentially could have been

raised during his state habeas proceedings, however, there is no indication that state habeas

counsel "fell short of their statutory and professional duties" as Daniel now contends. Quite the

contrary, the record demonstrates that counsel filed a lengthy and thoroughly-researched state

habeas application on Daniel's behalf which raised numerous well-briefed claims for relief,

including several claims regarding trial counsel's performance, that were supported by well over

400 pages of exhibits.




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         Furthermore, simply because counsel did not raise the specific allegations that Daniel, in

hindsight, now contends should have been raised does not render counsel's investigation or

performance inadequate. See Strickland v. Washington, 466 U.S. 668; 689 (1984) ("Even the

best criminal defense attorneys would not defend a particular client in the same way.");        cf   Smith

v.   Robbins, 528 U.S. 259, 285 (2000) (holding appellate counsel is not ineffective merely

because he fails to raise issues that his client requests him to raise); Jones   v.   Barnes, 463 U.s.

745, 751-53 (1983) (holding appellate counsel is only constitutionally obligated to raise and brief

those issues that are believed to have the best chance of success).           Indeed, the process of

winnowing out weaker arguments on appeal and focusing on those more likely to prevail is the

hallmark of effective appellate advocacy. Smith       v.   Murray, 477 U.S. 527, 536 (1986); Jones      v.


Barnes, 463 U.S. 745, 751-53 (1983). Daniel fails to demonstrate that his new, unexhausted

claims had a better chance of success than the numerous fully-developed claims raised by state

habeas counsel during Daniel's state proceedings.              As such, his self-serving accusations

regarding counsel's representation does not constitute "good cause" under the Rhines standard to

excuse his failure to raise his unexhausted claims in the state court.

B.       Daniel's claims are "plainly meritless."

         Even assuming Daniel could establish good cause for failing to exhaust his claims, an

abuse of discretion would occur if this court granted a stay because the unexhausted claims are

plainly meritless.   Rhines, 544 U.S. at 277.       Under Rhines, unexhausted claims are plainly

meritless if the court to which the applicant must return for exhaustion proceedings would find

the claim barred. Williams   v.   Thaler, 602 F.3d 291, 305 (5th Cir. 2010); Neville     v.   Dretke, 423

F.3d 474, 480 (5th Cir. 2005) (holding a procedurally barred claim is "plainly meritless" under

Rhines). Such is the case here.




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       Under Texas Code of Criminal Procedure Article 11.071, Section 5(a), a Texas court may

not consider a subsequent writ application unless the legal or factual issues were unavailable at

the time the previous application was filed or, but for a violation of the Constitution, no rational

juror could have found the applicant guilty or voted in favor of a death sentence. Daniel freely

admits his new, unexhausted claims "could and should have been raised in state post-conviction

proceedings," and thus cannot demonstrate that the claims were unavailable under Article

11.071, Section 5(a)(1). Daniel also provides no argument concerning his innocence of either

the underlying crime or the resultant death sentence under Article 11.071, Section 5(a)(2) and

(3). The unexhausted claims would therefore be barred     if Daniel attempted to present them in a

subsequent writ application in state court.

       Instead of attempting to surmount the subsequent writ bar found in Article 11.071, Daniel

argues the Texas Court of Criminal Appeals (TCCA) may permit review of his new claims

because of his state habeas counsel's alleged ineffectiveness during the original proceedings.

Although acknowledging the TCCA's previous foreclosure of this exception in Exparte Graves,

70 S.W.3d 103, 117 (Tex. Crim. App. 2002), Daniel speculates the TCCA intends to revisit and

overturn Graves in the appropriate case. Other than sheer conjecture, however, Daniel has not

pointed to a single instance where the TCCA excused the procedural bar of a successive habeas

corpus application based upon the ineffective assistance of counsel in the original proceeding.

Indeed, the TCCA's practice is quite   clearit does not recognize an exception to the subsequent
writ bar based on the ineffectiveness of state habeas counsel. Ex parte McCarthy, No. 50,360-

04, 2013 WL 3283148 (Tex. Crim. App. June 24, 2013).            Thus, even if Daniel were given

another opportunity to return to state court, there is no question that the TCCA would dismiss

any application as successive pursuant to Article 11.07 1, Section 5.




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       As a result, any new claims Daniel wishes to exhaust in state court would be procedurally

defaulted in federal court. See Keeney v. Tamayo-Reyes, 504 U.S. 1, 9-10 (1992) (holding that

an unexhausted claim is procedurally defaulted for federal habeas corpus purposes     if the claim
would now be procedurally barred by the state court); Williams, 602 F.3d at 305-06 (holding a

petitioner's claims were procedurally defaulted because if the petitioner returned to state court,

the court would not consider the merits under Article 11.071,   §   5(a)). Because the new claims

were clearly available during his state habeas proceeding but not properly asserted, the

procedurally defaulted claims are considered meritless under the Rhines standard. Neville, 423

F.3d at 480. For these reasons, an abeyance would be futile. Id.

                                           Conclusion

       In order to be entitled to a stay and abeyance to return to state court and exhaust state

court remedies, a petitioner must establish (1) good cause for the failure to exhaust; (2) the

unexhausted claims are not plainly meritless; and (3) there is no indication of abusive litigation

tactics or intentional delay. Rhines, 544 U.S. at 277-78. Daniel has not made this showing.

       It is therefore ORDERED that the unopposed Motion for Extension of Page Limit

(Doc. # 30) filed by Daniel is GRANTED.

       It is further ORDERED that the Motion to Stay and Hold in Abeyance the Federal

Habeas Proceeding (Doc. # 24), filed by Daniel on March 27, 2019, is DENIED.

       SIGNED this the             day of July, 2019.




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                                             UN TED ST TES DISTRICT JUDGE




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